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                      RECOMMENDATION TERMINATING
               SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                          )
                                                  )
                            vs.                   )    Docket Number: 2:93CR00044-01
                                                  )
Roger Dale DALTON                                 )
                                                  )


LEGAL HISTORY:

On February 8, 1995, the above-named was placed on supervised release for a period of
5 years, which commenced on January 4, 2002. Special conditions included a requirement
for warrantless search and drug treatment and testing.


SUMMARY OF COMPLIANCE:

Roger Dalton has lived in the Northern District of Georgia since his release from the
Bureau of Prisons. He has maintained employment and a steady residence with no
instances of new criminal behavior. He has complied with all conditions and special
conditions of supervised release, and has not been involved in any further criminal
activities. It is the opinion of the supervising probation officer in the Northern District of
Georgia that Roger Dalton has derived maximum benefit from supervision and is not in
need of continued supervision.




                                                                                    Rev. 03/2005
                                              1                                   EARLITRM.MRG
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RECOMMENDATION:

It is, therefore, respectfully recommended that supervised release in this case be
terminated early.

                                       Respectfully submitted,


                                     /s/ karen a. meusling
                                      Karen A. Meusling
                         Supervising United States Probation Officer

Dated:           February 14, 2006
                 Sacramento, California

KAM:kam

cc:      AUSA Laurel White (Pursuant to Rule 32, notice of proposed relief to the supervised releasee
         was provided. The AUSA has no objection to early term ination of supervised release.)




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P R O B 35          ORDER TERMINATING SUPERVISED RELEASE
                           PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                        )
                                                )
                           vs.                  )     Docket Number: 2:93CR00044-01
                                                )
Roger Dale DALTON                               )
                                                )


On February 8, 1995, the above-named was placed on supervised release for a period of 5
years. Dalton has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision.

                                  Respectfully submitted,


                                /s/ karen a. meusling
                                  Karen A. Meusling
                      Supervising United States Probation Officer

Dated:         February 14, 2006
               Sacramento, California



                                   ORDER OF COURT

It is ordered that the supervised releasee be discharged from supervised release, and that
the proceedings in the case be terminated.

Date: February 15, 2006




KAM:kam
Attachment:     Recommendation

                                                                                   R ev. 03/2005
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Re:   Roger Dale DALTON
      Docket Number: 2:93CR00044-01
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE


cc:   United States Attorney's Office




                                                                       R ev. 03/2005
                                        4                             P R O B 35.M R G
